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IN THE UNITED sTATEs DISTRICT CoUR‘f?./g£ \
FoR THE WEsTERN DISTRICT oF TENNESSEE 3 456 O'C‘.

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DoNNIE NEWBLE, ) v a MO”" €U/W
)
Plaimiff, )
)
VS_ ) No. 05-1050-T
)
Jo ANNE B. BARNHART, )
Commissioner of` Social Security, )
)
Defendant. )

 

ORDER AFFIRMING COMMISSIONER’S DECISION

 

Plaintiff, Donnie Newble, filed this action to obtain judicial review of the Defendant
Commissioner’s final decision denying his applications for disability insurance benefits under
Title ll of the Social Security Act (the “Act”), 42 U.S.C. §§ 410 et seq, and for supplemental
security income (SSI) benefits under Title XVI of the Act, 42 U.S.C. § 1381 et seq. Plaintif`f’s
applications were filed on September 4, 2002 and were denied both initially and upon
reconsideration by the Social Security Adrninistration (SSA). Plaintiff requested a hearing before
an administrative law judge (ALJ) which was held on September 5, 2003. The ALJ issued a
decision on February 21, 2004, determining that plaintiff was not disabled as defined by the Act
and Social Security Regulations. The Appeals Council denied plaintiffs request for review on
February 4, 2005. Thus, the ALJ’s decision became the final decision of the Commissioner of

Social Security. Plaintiff then filed this action asking the court to reverse the ALJ’s decision and

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award benefits on the grounds that the decision is not supported by substantial evidence in the
record. The Commissioner contends that the decision is supported by substantial evidence. F or
the reasons set forth below, the Commissioner’s decision is AFFIRMED.
Standard of Review

Judicial review in this court is limited to determining Whether or not there is substantial
evidence in the record as a whole to support the Commissioner’s decision, and whether the
correct legal standards were applied. §§ 42 U.S.C. § 405(g); Richardson v. Perales, 402 U.S.
389, 401 (1971); Her v. Comm’r of Soc. Sec., 203 F.3d 388, 389 (6th Cir. 1999); Walters v.
Comm’r of Soc. Sec., 127 F.3d 525, 528 (6th Cir. 1997); Drummond v. Comm’r of Soc. Sec.,
126 F.3d 837, 840 (6th Cir. 1997); Cutlip v. Sec’y ofHealth and Human Serv., 25 F.3d 284, 286
(6th Cir. 1994). Substantial evidence is evidence that a reasonable mind would accept as

adequate to support a conclusion Perales, 402 U.S. at 401; LI§L, 203 F.3d at 389; Drurnmond,

 

126 F.3d at 840; Cutlig, 25 F.3d at 286. The reviewing court may not resolve conflicts in the

evidence nor decide questions of credibility. Walters, 127 F.3d at 528 (quoting Garner v.

 

Heckler, 745 F.2d 383, 387 (6th Cir. 1984)); Cutlip, 25 F.3d at 286. In addition, if` the decision is

 

supported by substantial evidence, it should not be reversed even if substantial evidence also
supports the opposite conclusion Key v. Callahan, 109 F.3d 270, 273 (6th Cir. 1997); S_m_it_hL
C_lnl_;e;, 99 F.3d 780, 782 (6th Cir. 1996) (citing Mp, 25 F.3d at 286).
Background of the Case
Plaintiff is a fifty-five year old male with a high school diploma and thirty~six years of
experience as a head cook of a restaurant (R.397-99). At the time of` the administrative hearing,

he was fifty-three and alleged disability since September 7, 2001, due to joint pain and stiffness

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in his shoulders and knees, as well as recurring numbness in his right arm and leg due to
diabetes (R.20-21). He also alleged disability due to depression which causes him sleep
disturbance, concentration and memory difficulties, hallucinations, and suicidal thoughts (R.22).
As a result of these infirmities plaintiff claimed that he could not stand more than fifteen
minutes, lift more than ten pounds, or hold a pencil, and that he falls asleep after sitting more
than ten minutes (R.21).

Plaintiff worked as head cook for a restaurant for thirty-six years until he Was terminated
on September 7, 2001, the day of his alleged onset of disability, after the restaurant changed
management (R.20). Plaintiff claimed he was terminated due to differences with the new
management (R.401). As part of his daily job duties, plaintiff lifted a case of chicken weighing
forty to fifty pounds on his own and lifted a fifty-gallon barrel full of Water with help from a
coworker. (R.399). Plaintiff contended that he is not able to perform this work or any other type
of work due to his physical and mental incapacities. (R.403-10).

Plaintiff"s physical problems date back to October 1996 when he was first diagnosed with
degenerative osteoarthritis and chondromalacia in his right knee by Dr. James Craig (R.285). Dr.
Craig performed successful arthroscopic surgery at that time on plaintiffs knee. (R.285).
Although plaintiff complained of stiffness and joint pain in later physical examinationsj he
admitted that the medication he was prescribed improved these conditions (R.149, 235).

Plaintiff underwent a consultative examination by Dr. Robert Duck in October 2002.
(R.203-05). Dr. Duck observed that plaintiff had an enlarged right knee due to mild
osteoarthritis, but showed no signs of difficulty when getting up from his chair and climbing onto

the examination table. (R.203-04). Dr. Duck’s report also noted that plaintiff performed

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remarkably well in all physical tests despite a weight of 365 lbs. (R.204). The report concluded
that plaintiff could sit, stand, or walk a total of six out of eight hours in a work day and lift up to
fifteen pounds frequently and thirty to forty pounds occasionally (R.205).

Five months later, in March 2003, plaintiff received a functional capacities evaluation
from Darleen Cox, a functional assessment specialist (R.260). Her report concluded that plaintiff
could sit a total of` eight out of eight hours, stand four out of eight hours, and walk one to two
hours out of an eight-hour work day. (R.26l).

Plaintiff first received treatment for his mental health in two visits to Pathways of
Tennessee, Inc. in September 2001 for symptoms of depression (R.161-78). He did not return to
Pathways again until January 2003, continuing visits until at least July 2003. (R.228, 253).
During this time, plaintiff claimed improvement in his depression in April 2003 and maintained
in May and July 2003 that he was sleeping better due to medication he was given for depression
(R.251-53).

ln October 2002, Dr. John Aday performed a consultative psychological exam on the
plaintiff and diagnosed plaintiff with major depressive disorder and alcohol dependence (R. 179,
182). Despite the diagnosis, the report found plaintiffs concentration only mildly impaired and
asserted that his memory was adequate for most functions (R.182).

ln a visit to Pathways in March 2003, a mental residual functional capacities assessment
conducted by Janet Ambler, FNP, concluded that plaintiff had only a “fair” ability to perform in
all areas of mental functioning (R.2] 3-15). However, the assessment was solely based on

plaintiffs subjective complaints and not on Ambler’s own observations or diagnosis (R.215).

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Regarding plaintiffs alcohol abuse, the record shows some discrepancies in his
testimony, both as to the number of drinks consumed daily and as to whether plaintiff has
abstained from alcohol and for how long. ln September 2001, plaintiff admitted that he drank two
to three mixed drinks on the weekend while gambling (R.164). He admitted in September 2002
that he drank a six-pack of beer daily, then admitted to drinking two or more quarts of beer daily
a month later. (R.22, ]80). Within weeks of these admissions plaintiff claimed he only
“occasionally drinks alcohol” during a physical examination in October 2002. (R.203). ln July
2003, plaintiff told a Pathways employee that he had been abstinent from alcohol since
November 2002, despite admitting to still be drinking in January 2003 during a visit to Pathways
and being referred to Alcoholics Anonymous in April 2003, (R.233, 251, 253).

The record also shows that, at least at the time of his exam with Dr. Aday in October
2002 and probably beyond, plaintiff was caring for all his personal needs, performing all
household chores, driving his car without difficulty, preparing his own meals, shopping for his
own groceries, handling his finances, seeing his girlfriend frequently, attending school and
studying for an hour each day, and mowing his own yard with a riding lawn mower. (R.181).

On September 5, 2003, plaintiff testified in an administrative hearing before ALJ Sheldon
P. Zisook that he suffers pain and stifliiess in his shoulders as well as numbness in various joints
(R.404-05). He testified that he was having trouble concentrating without going to sleep in class
at school even though he also contended that he couldn’t sit still for extended periods in class due
to pain and numbness in his joints (R.405-06). Plaintiff again asserted that he had quit drinking
in November 2002 despite reports in the record to the contrary. (R.408). He also stated that he

has trouble sleeping and often wakes up groggy in the mornings but never asserted any kind of

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sleep disorder. (R.408). Plaintiff claimed to have trouble lifting more than ten pounds and often
loses his balance when he lifts ten pounds or more. (R.415). Despite these limitations, plaintiff
testified that he independently cares for his personal needs, performs housekeeping chores,
grocery shops on his own, and conducts frequent research on his computer. (R.23).

On February 21, 2004, after considering the entire record, the ALJ determined that
Plaintiff Newble was not disabledl More specifically, the ALJ found that: (1) plaintiff met the
disability insured status requirements of the Act on September 7, 2001, his alleged disability
onset date, and he continues to meet them at least through the date of this decision; (2) plaintiff
has not engaged in any substantial gainful activity since his alleged disability onset date; (3)
plaintiff has impairments that include osteoarthritis, diabetes mellitus, hypertension morbid
obesity, depression, and alcohol dependence, and are considered “severe” by the SSA under its
Regulations; (4) plaintiffs medically determinable impairments do not meet or medically equal
one of those listed in Appendix l, Subpart P of Regulations No.4; (5) plaintiffs claims regarding
his impairments are not credible in light of the objective medical reports and conclusions
contained in the record, the discrepancies in plaintiffs statements about his alcohol abuse, and
the plaintiffs own description of his daily activities and active lifestyle; (6) plaintiff has the
physical residual physical capacity to perform medium workl and the mental residual functional
capacity to understand, remember, and execute both simple and detailed job instructions; (7)

plaintiffs mental impairments prevent him from performing his past relevant skilled work; (8)

 

l Mediurn work is defined as lifting no more than 50 pounds at a time with frequent lifting or carrying of
objects weighing up to 25 pounds, standing or walking, off and on, for a total of approximately 6 hours in an 8-hour
workday, and sitting intermittently during the remaining time. Use of the arms and hands is necessary to grasp,
hold, and turn objects 20 C.F.R. § 404.1567(0), 416.967(0); Social Security Ruling 83-10.

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plaintiffs overall residual functional capacity for the full range of medium work is reduced by
additional nonexertional limitations which decrease plaintiffs mental capacity; (9) plaintiff is
“closely approaching advanced age” as defined in 20 C.F.R. §§ 404,1563 and 416.963; (] 0)
plaintiff has a high school education as defined in 20 C.F.R. §§ 404. 1564 and 416.964; (11)
plaintiff developed skills in his past relevant skilled work that are transferable to skilled or semi-
skilled work functions of other works within his residual functional capacity as defined under 20
C.F.R. §§ 404.1568 and 416.968; (12) A conclusion of “not disabled” is required by Grid Rule
203.23, Table No. 3 of Appendix 2, Subpart P, Regulations No. 4, based on plaintiffs exertional
capacity for medium work and age, education, and work background; (13) Despite having
additional nonexertional limitations that prevent the plaintiff from performing all of the
requirements of medium work, plaintiff can perform and adapt to a significant number of jobs in
the national economy; and (14) plaintiff was not disabled as defined by 20 C.F.R. §§ 404.1520(f)
and 416.920(f) at any time through the date of the ALJ’s decision (R.25-26).

Six months after the ALJ’s decision, plaintiff was diagnosed with severe obstructive sleep
apnea syndrome by Dr. R.F. Taylor. (R.379). ln that August 2004 evaluation, Dr. Taylor found
that the sleep apnea resulted in sleep fragmentation and chronic sleep deprivation for the
plaintiff (R.381). Plaintiff submitted this new evidence to the Appeals Council in October 2004.
(R.361).

when

The Social Security Act defines disability as the inability to engage in substantial gainful

activity. 42 U.S.C. §§ 423(d)(l), 1382c(a)(3)(A). The initial burden of going forward is on the

claimant to show that he is disabled from engaging in his former employment; the burden then

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shifts to the Commissioner to demonstrate the existence of available employment compatible
with the claimant’s disability and background 42 U.S.C. §§ 423, l382c; §§ Felisky v. Bowen,
35 F.3d 1027, 1035 (6th Cir. 1994). The claimant bears the ultimate burden of establishing an
entitlement to benefits Cotton v. Sullivan, 2 F.3d 692, 695 (6th Cir. 1993).

ln determining disability, the Commissioner conducts a five-step sequential analysis, as

set forth in 20 C.F.R. § 404.1520 and § 416.920:

1. An individual who is engaging in substantial gainfiil activity will not be
found to be disabled regardless of medical findings

2. An individual who does not have a severe impairment will not be found to
be disabled

3. A finding of disability will be made without consideration of vocational

factors if an individual is not working and is suffering from a severe
impairment which meets the duration requirement and which meets or
equals a listed impairment found in 20 C.F.R. Part 404, Subpart. P,

Appendix 1.

4. An individual who can perform work that he or she has done in the past
will not be found to be disabled

5. lf an individual cannot perform his or her past relevant work, other factors

including age, education, past work experience, and residual functional
capacity Will be considered to determine if other work can be performed

Further analysis is unnecessary if it is determined that an individual is not disabled at any point in
this sequential evaluation process 20 C.F.R. §§ 404.1520(a), 416.920(a); Hogg v. Sullivan, 987
F.2d 328, 331 (6th Cir. 1989).

ln this case, analysis proceeded to the last step, Where the ALJ found that the plaintiff was
not disabled because he could perform a significant number of jobs in the medium work range.
The plaintiff first contends that the ALJ’s finding that plaintiffs residual functional capacity
allows him to perform medium Work is not supported by substantial evidence because the ALJ

allegedly did not accurately read the plaintiffs reports of his daily activities Instead, the ALJ

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chose to take “bits and pieces” from the record to establish his finding and failed to consider all
the evidence taken as a whole. Second, plaintiff argues that the ALJ did not develop an adequate
record concerning plaintiffs alleged sleep apnea and thus denied him a full and fair hearing by
not giving enough weight to this nonexertional impairment The court must determine if there is
substantial evidence in the record to support the ALJ’s decision

l. The ALJ Accurately Considered All of the Evidence in the Record and Substantial
Evidence Supports His Conclusion

Plaintiff alleges that the AL.l erred by selecting certain pieces of evidence to support his
finding without considering the evidence as a whole. He alleges this despite the fact that the ALJ
specifically stated that his decision was made after all of the evidence Was considered (R.23).
Furthermore, the ALJ found that plaintiffs claims regarding his impairments were not credible in
light of objective medical reports contained in the record, discrepancies in plaintiffs own
statements about his alcohol abuse, and his own description of his daily activities (many of which
appeared inconsistent with the alleged impairments). When a claimant alleges fully disabling
pain, the “ALJ may distrust [the] claimant’s allegations . . . if the subjective allegations the
ALJ’s personal observations and the objective medical evidence contradict each other.” _MM
v, Sullivan, 923 F.2d 1175, 1182-83 (6th Cir. 1990). In addition, an ALJ may consider household
and social activities engaged in by the claimant to determine impairments _S_Y Walters v.
Comm’r of Soc. Sec., 127 F.3d 525, 532 (6th Cir. 1997). In this case, the ALJ Wasjustified in
disregarding plaintiffs subjective allegations of his impairments since plaintiffs statements

about his lifestyle and the objective medical evidence from Dr. Duck, Darleen Cox, and Dr. Aday

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contradict plaintiffs claim of disability.2 Thus, the court turns to whether substantial evidence
supports the ALJ’s finding.

The record is replete with evidence supporting the ALJ’s decision Plaintiff was
performing his full range of job duties and likely would have continued working had he not been
terminated on September 7, 2001, the day of his alleged onset of disabilityl In fact, plaintiffs
testimony at the hearing suggests he was terminated from his job as head cook due to hostilities
with management and not due to any disabilities that prevented him from performing his duties
(R.400-01). Moreover, he successfully cared for his personal needs since his alleged onset date
and regularly attended a vocational school for over a year. Plaintiff engaged in activities such as
mowing his lawn, driving his car, shopping for groceries, attending to all his own housekeeping,
studying for class, researching on his computer, and others that tend to show a lack of debilitating
physical and mental impairments The record also contains assessments by Dr. Duck and Darleen
Cox that determined the plaintiff can stand or walk six out of eight hours and lift twenty-five
pounds frequently and fifty pounds occasionally A report by Dr. Aday concluded that plaintiff
has only mild impairments in his concentration and memory. Though an assessment by Janet
Ambler found plaintiffs mental functioning capacity to be “fair” in nearly all areas of mental
functioning, her assessment was based solely on the plaintiffs subjective complaints and thus
appeared less reliable than Dr. Aday’s objective findings A reasonable mind could accept this

evidence as adequate to support the ALJ’s decision that the plaintiff has no disability as defined

 

2 While Janet Ambler’s assessment of plaintiffs mental functioning capacity is supportive of plaintiffs
alleged disability, the objectivity of the report is questionable since it is based solely on the plaintiffs subjective
complaints and not on Ambler’s own observations Therefore, her assessment will not be considered purely
“objective medical evidence.”

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by the Act and was capable of performing medium work. The court therefore finds substantial
evidence to support the ALJ’s conclusion
2. The ALJ Was Not Obligated to Consider the Plaintiffs Sleep Apnea

Plaintiff alleges that the ALJ erred by not developing the record pertaining to plaintiffs
sleep apnea and failing to consider this disorder to determine plaintiffs disability status Prior to
and during the hearing plaintiff never alleged disability due to sleep apnea nor offered medical
evidence supporting the same. An ALJ does not have a special duty to develop the record in such
a case unless the claimant appears at the hearing without being represented by counsel. §
Lashlev v. Sec’v ofHealth and Human Serv.. 708 F.2d 1048, 1051-52 (6th Cir. 1983); NM
v. Comm’r, No. 01-6464, 2002 WL 31473794 at *3 (6th Cir. Nov. 4, 2002). Since the Plaintiff
Newble was represented by counsel, this special duty is inapplicable and plaintiffs argument is
without merit. Furthermore, the Sixth Circuit has repeatedly held that courts may not consider
evidence submitted for the first time to the Appeals Council to determine if the ALJ’s decision
was supported by substantial evidence S_ee_: Foster v. Halter, 279 F.3d 348, 357 (6th Cir. 2001);
Cline v. Comm’r of Soc. Sec., 96 F.3d 146, 148 (6th Cir. 1996). Since the plaintiff first alleged
sleep apnea and presented medical evidence supporting his allegation to the Appeals Council, the
ALJ was justified in making a decision solely on the record before him without considering
plaintiffs alleged sleep disorder. §_e_e_ i_d_.; 20 C.F.R. §§ 404.1516, 416.916.

Although plaintiff has not specifically requested it, 42 U.S.C. § 405(g) allows the court to
consider this new evidence of sleep apnea for the limited purpose of determining whether or not
remand is appropriate However, such evidence must be material and there must exist good cause

for failure to incorporate the evidence into the record at a prior proceeding _&c_e 42 U.S.C. §

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405 (g). In this case, the sleep apnea evidence is immaterial because it does not reveal further
information about plaintiffs alleged disability at the time of or prior to the ALJ’s decision §e_e
Oliver v. Sec’y of Health and Human Serv,, 804 F.2d 964, 966 (6th Cir. 1986). Dr. Taylor’s sleep
apnea evaluation was conducted in August 2004, six months after the ALJ’s decision and nearly
a year after the hearing (R.379). In addition, plaintiff has failed to give a valid reason for not

presenting the sleep evaluation prior to the ALJ’s decision _S§e_: Oliver, 804 F.2d at 966.

 

Therefore, plaintiff has not met the good cause requirement F or these reasons, this case will not
be remanded to consider plaintiffs sleep apnea. Pursuant to 20 C.F.R. §§ 404.620(a)(2) and
416.330(b), the plaintiff must file a new claim of disability to have this new evidence considered
E also Sizemore v. Sec’v of Health and Human Serv.. 865 F.2d 709, 712.
Conclusion
For the foregoing reasons, the decision of the Commissioner is AFFIRMED. The clerk is
directed to enter judgment accordingly

lT IS SO ORDERED.

A.M

JA s D. Tth)
Et) sTATEs DISTRICT JUDGE

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Honorable .l ames Todd
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